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Aprii 1, 2013
RE: l(erry Roades

Your honor_.

l am writing the letter to help you gain an insight and understanding of l<erry Roades from the point of
view of the people who are close to him and know him best. l feel that it is important for you to
understand the person that l(erry is. l have been a neighbor and friend to Kerry and his family for more
than 10 years. During this time our families have become very close and our children have grown up
together. We have all spent our summers and weekends together just hanging out and doing what
every typical family does.

I also think it is important for you to understand who lam and why this is so- important to me. l have
been a police officer for almost 24 years with the last half of my career as a detective. This is the first
time l have ever written a letter like this pleading for mercy on a person facing such charges. Although l
do not know the details of the investigation and have intentionally kept myself out of that part of this
situationl l am completely shocked and devastated by this entire ordeal. Having said thatr l am typing
this letter with tears in my eyes as l hope to get my point across about how truly special Kerry is to me
and my fami|y. l feel like lam and extremely good judge of character,F having served so many years in
law enforcement trying to distinguish between the good people and the bad in our society. l can"t stress
enough that l<erry is truly one of the good people. l have seen him work hard every day of the week
providing for his family1r and at the end of a long day.r `rt was not unusual to look out my window and see
him mowing my lawn. l(erry is truly an exceptional, hardworking, family man and l know, given the
chancel he will slide right back into society as a very productive person who takes care of his family and
friends.

lll».gairtr l do not know the exact circumstances of this situation]l but l do know the charges are not in
l<erry’s character. Having lived in the same subdivision with both l<erry Roades and Todd Beckmani1r and
having known them both for the same amount of timell l can count on one hand how many times l have
seen Todd hanging out with or visiting l<erry in the past 10 years. From what l have personally
witnessed, Todd and l€erry's relationship has been ali business during my friendship with l<erry.

Thank you for taking the time to read my sentiments. l hope this will provide you with a better
understanding of who l(erry Roades truly is and how important he is to his family and friends.

Please feel free to call me if you have further questions

Sincerely,

/kM(/@la{

Jason Valentine

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DEFENIANT’$
§ EXHIBIT

 

